  Case: 1:15-cv-10109 Document #: 252 Filed: 10/12/18 Page 1 of 3 PageID #:4358



              IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

NIRAV THAKKAR, an individual,                 )
                                              )
                 Plaintiff,                   )
                                              )
v.                                            ) Case No. 1:15-cv-10109
                                              )
OCWEN LOAN SERVICING, LLC, a                  )
Delaware limited liability company;           ) Honorable John J. Tharp, Jr.
ALTISOURCE SOLUTIONS, INC., a                 )
Delaware corporation; ALTISOURCE              ) Magistrate Judge Maria Valdez
PORTFOLIO SOLUTIONS, S.A., a                  )
Luxembourg corporation; BAXOL                 )
PROPERTIES, LLC, an Indiana limited           )
liability company; and LAUDAN                 )
PROPERTIERS, LLC, an Ohio limited             )
liability company;                            )
                                              )
                 Defendants.                  )
______________________________________ )
OCWEN LOAN SERVICING, LLC,                    )
                                              )
                 Defendants/Cross Claimant,   )
                                              )
v.                                            )
                                              )
BAXOL PROPERTIES, LLC, an Indiana             )
limited liability company; and LAUDAN         )
PROPERTIES, LLC, AN Ohio limited liability )
company,                                      )
                                              )
                 Defendants/Cross Defendants. )
______________________________________ )
OCWEN LOAN SERVICING, LLC,                    )
                                              )
                 Third-Party Plaintiff,       )
                                              )
v.                                            )
                                              )
GREEN GROUP CORP., an Illinois                )
corporation,                                  )
                                              )
                 Third-Party Defendant.       )
   Case: 1:15-cv-10109 Document #: 252 Filed: 10/12/18 Page 2 of 3 PageID #:4359



                                    NOTICE OF MOTION

        PLEASE TAKE NOTICE that on October 24, 2018 at 9:00 a.m., or as soon thereafter as
counsel may be heard, I shall appear before the Honorable Judge John J. Tharp, Jr., in Courtroom
1419, at the United States District Court for the Northern District of Illinois, Eastern Division,
Chicago, Illinois and then and there present LAUDAN PROPERTIES, LLC’S MOTION FOR
LEAVE TO JOIN SUMMARY JUDGMENT MOTIONS OF BAXOL PROPERTIES,
LLC AND ALTISOURCE SOLUTIONS, INC., a copy of which will be served upon you
using the CM/ECF system.


                                             By:            /s/ Jason E. Hunter


                                                    Jason E. Hunter (6237345)
                                                    Litchfield Cavo LLP
                                                    303 W. Madison Street, Suite 300
                                                    Chicago, IL 60606
                                                    312-781-6587 (Hunter)
                                                    hunter@litchfieldcavo.com
Case: 1:15-cv-10109 Document #: 252 Filed: 10/12/18 Page 3 of 3 PageID #:4360



                            CERTIFICATE OF SERVICE

       I, Jason E. Hunter, an attorney, certify that on October 12, 2018, I served this
Motion for Leave to Join Summary Judgment Motions of Baxol Properties, LLC and
Altisource Solutions, Inc. on all parties of record via the Court’s CM/ECF system.

                                               /s/ Jason E. Hunter
